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5

6    Attorney for defendant
     SCOTT PETERSON
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8
                             UNITED STATES DISTRICT COURT
9
                            EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,             No.   10-CR-0299 WBS
12
                       Plaintiff,
13
             v.                            STIPULATION AND ORDER TO
14                                         TEMPORARILY SUSPEND LOCATION
     SCOTT PETERSON,                       MONITORING SUPERVISIOIN
15
                       Defendant.
16

17           The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby agree and stipulate that location monitoring will be

20   suspended beginning February 2, 2015, when Mr. Peterson is

21   scheduled to undergo inpatient knee surgery, for a minimum of 2

22   days.        PTS Officer Ryan Garcia has verified the information

23   related to the surgical procedure and will verify daily that Mr.

24   Peterson is present at the hospital.        Upon discharge, location

25   monitoring will be reinstated.

26           I, William E. Bonham, the filing party, have received

27   authorization from AUSA Justin Lee to sign and submit this

28   stipulation and proposed order on his behalf.
                                           1
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1         Accordingly, the defense and the United States agree and

2    stipulate that location monitoring will be suspended beginning

3    February 2, 2015, for a minimum of 2 days while Mr. Peterson

4    undergoes inpatient knee surgery and recovers.

5    Dated: January 30, 2015                 BENJAMIN B. WAGNER
                                             United States Attorney
6

7                                            By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
8                                            Assistant U.S. Attorney

9

10   Dated: January 30, 2015                 By:/s/ WILLIAM BONHAM for
                                             WILLIAM BONHAM
11                                           Counsel for defendant
                                             SCOTT PETERSON
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1                                      ORDER

2         IT IS SO ORDERED. Mr. Peterson’s location monitoring will be

3    suspended beginning February 2, 2015, for a minimum of 2 days

4    while he undergoes inpatient knee surgery and recovers, and will

5    be reinstated upon his discharge.

6    Dated:   January 30, 2015
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